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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION
                                         :
In re:                                   :
                                         :
   Ryan A. Brite                         :  Case No.: 17-11735-reg
                                         :  Chapter 7
         Debtor.                         :  Chief Judge Robert E. Grant
                                         :  *********************
                                         :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
  PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES SURRENDER OF
  PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-DAY WAIVER
                        (FIRST MORTGAGE)

The creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, hereby moves the Court, pursuant to

11 U.S.C. § 362(d) and § 554, to lift the automatic stay and abandon from the estate the

following real property:

                   4894 N 400 W, Decatur, IN 46733, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

         1.    Ryan A. Brite (hereinafter ''Debtor'') filed a Chapter 7 case on September 7, 2017,

(hereinafter the "Petition Date").

         2.    As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

         3.    The above described Mortgage was given to secure a promissory note,

(hereinafter the "Note"), dated April 4, 2007 and made payable to the Creditor in the original

sum of $64,500.00. A copy of the Note is attached hereto as Exhibit "B".




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       4.        The Creditor perfected an interest in the Property, more particularly described in

the Mortgage, recorded in Adams County Recordings Office on April 11, 2007. Evidence of

perfection is attached as Exhibit "A".

       5.        The loan was modified as set forth in the Loan Modification Agreement attached

as Exhibit "C".

       6.        Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary.

       7.        As of September 11, 2017, the outstanding principal of the Note was $60,948.17

and the outstanding interest was $3,960.66. As of September 11, 2017, the approximate payoff

of the loan in question, consisting of the outstanding principal, interest, escrow advances, fees

and costs is $69,428.99.

       8.        The Property is burdensome and/or of inconsequential value and benefit to the

estate. Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

these reasons:

       a.        Debtor has no equity in the Property. Creditor believes that the Property has a
                 value of $70,000.00 based on Schedule D, which is attached hereto as Exhibit
                 "D". The balance on Creditor's first mortgage together with Debtor's claimed
                 exemption in the amount of $8,761.85 exceeds the value of the Property. Based
                 upon the lack of equity in the Property, Creditor asserts that the Property is
                 burdensome and/or of inconsequential value and benefit to the estate.

       b.        The Creditor is not being adequately protected. Per the Note and Mortgage,
                 payments are applied to the last month due. Based on the foregoing, Debtor has
                 failed to make periodic payments to Creditor since May 1, 2016 through October
                 2017.

       c.        Debtor intends to surrender the Property located at 4894 N 400 W, Decatur, IN
                 46733 according to the Statement of Intent filed.


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       9.      The Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this

motion within thirty (30) days of the date it is filed. Creditor, by counsel, further prays that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) be waived.

PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk

within 14 days of the date of this notice. Those not required or not permitted to file

electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in

person at:

                                   Fort Wayne
                                   1300 South Harrison Street
                                   Room 1188
                                   Fort Wayne, IN 46802-3435

The objecting party must ensure delivery of the objection to the party filing the motion. If an

objection is NOT timely filed, the requested relief and abandonment may be granted.

       WHEREFORE, the Creditor moves the Court to enter an order lifting the automatic stay

and abandoning the Property, and granting such other relief as appropriate.

                                                        Respectfully submitted,
                                                         /s/ Edward H. Cahill
                                                        Sarah E. Barngrover (28840-64)
                                                        Edward H. Cahill (0088985)
                                                        Adam B. Hall (0088234)
                                                        John R. Cummins (11532-10)
                                                        Amy E. Gardner (93532)
                                                        Manley Deas Kochalski LLC
                                                        P.O. Box 165028
                                                        Columbus, OH 43216-5028
                                                        614-220-5611; Fax: 614-627-8181
                                                        Attorney for Creditor
                                                        The case attorney for this file is Sarah E.
                                                        Barngrover.
                                                        Contact email is
                                                        sebarngrover@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on the parties listed below via e-mail notification:

   Nancy J. Gargula, One Michiana Square Building, Suite 555, 100 East Wayne Street, South
   Bend, IN 46601-2349, 574-236-8105

   Yvette Gaff. Kleven, Adelsperger & Kleven, LLP, 111 West Wayne Street, Fort Wayne, IN
   46802

   Justin R. Wall, Attorney for Ryan A. Brite, Wall Legal Services, 309 North Jefferson Street,
   Huntington, IN 46750, justin@walllegalservices.com

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on all parties listed on the attached creditor matrix via regular U.S. Mail, postage prepaid on
        16 2017.
October ___,

                                                        /s/ Edward H. Cahill




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